     Case 3:21-cr-00090-DJH Document 21 Filed 10/15/21 Page 1 of 2 PageID #: 48




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION


UNITED STATES OF AMERICA,                                                                 Plaintiff,

v.                                                           Criminal Action No. 3:21-cr-90-DJH

NATHAN A. BERGSTROM,                                                                    Defendant.

                                            * * * * *

                     MEMORANDUM OF CONFERENCE AND ORDER

         A status conference was held in this matter on October 14, 2021, with the following

counsel participating:

         For the United States:       Joshua Judd

         For Defendant:               Laura Wyrosdick

The defendant was present. The Court and counsel discussed the procedural posture of the case.

Based on the discussion during the conference, and without objection, it is hereby

         ORDERED as follows:

         (1)    This matter is set for trial by jury on January 4, 2022, at 9:30 a.m. at the Gene

Snyder U.S. Courthouse in Louisville, Kentucky.           Pretrial deadlines and a final pretrial

conference will be set by subsequent order.

         (2)    Pursuant to 18 U.S.C. § 3161(h)(7)(A), (h)(7)(B)(i), (h)(7)(B)(ii), and

(h)(7)(B)(iv), the Court finds that the period of delay from October 1, 2021, to January 4,

2022, is excludable in computing the time within which the trial must commence under the

Speedy Trial Act. The Court further finds that the ends of justice served by this delay outweigh

the best interests of the public and the defendant in a speedy trial because failure to grant such a

continuance would deny the defendant the reasonable time necessary for effective preparation,


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  Case 3:21-cr-00090-DJH Document 21 Filed 10/15/21 Page 2 of 2 PageID #: 49




taking into account the exercise of due diligence. See § 3161(h)(7)(B)(iv); Zedner v. United

States, 547 U.S. 489 (2006).      This continuance is not being granted “because of general

congestion of the court’s calendar, or lack of diligent preparation or failure to obtain available

witnesses on the part of the attorney for the Government.” § 3161(h)(7)(C).

       October 14, 2021




Court Time: 00/05
Court Reporter: April Dowell


cc:    Jury Administrator




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